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                                                   December 4, 2023

Hon. Catherine O’Hagan Wolfe
Clerk of the Court
U.S. Court of Appeals for
the Second Circuit
40 Foley Square
New York, New York 10007

        Re:      Frey v. Nigrelli, No. 23-365

Dear Ms. Wolfe,

        Appellants presented evidence below that they face felony charges under Penal Law § 265.00, et
seq. for carrying a licensed handgun in New York City for self-defense – notwithstanding that they hold
valid NYS handgun licenses issued in a county outside of the five boroughs.

       Appellee New York City and the State maintain that, at worst, Appellants face misdemeanor
charges under P.L. § 400.00(15) for carrying outside their licensing restrictions. [Doc. 62 at pp. 5-6;
Doc. 61 at p. 7].

        The district court further minimized Appellants’ risk of imminent harm, finding they face a mere
violation of their licensing restrictions. 1 [A156 (Denying Appellants’ motion to preliminarily enjoin
enforcement of § 265.00, et seq. against a licensed handgun owners, as “Plaintiffs’ concerns are
misplaced…they would at best be committing a violation of their handgun license restrictions, and
subject to potential penalties under N.Y. Penal Law Section 400.00(15).”)].

       On November 5, 2023, Edward Santalone, with no prior arrests, was arrested, incarcerated, and
charged with violating Penal Law §§ 265.03(1)(b) and 265.03(3) -- C Violent Felonies carrying
mandatory state prison time between 3 ½ to 15 years for possessing his licensed handgun in the City.

       Mr. Santalone told the NYPD officers that he holds a valid NYS pistol license and showed it to
them at the scene, but he was still arrested and jailed. The District Attorney’s Office will not entertain
dismissing the charges against Mr. Santalone, or releasing his car, money, cell phone, and other personal
items seized by the NYPD.



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 Exclusive of “sensitive places” and “restricted locations” issues.
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       As argued below, Appellants face a credible threat of felony arrest and prosecution under §
265.00, et seq. for carrying a licensed handgun in the City for self-defense. 2 Appellants’ concerns are
not “misplaced.”

Very truly yours,


Amy L. Bellantoni




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    Pending before Hon. Cori Weston, New York County Supreme Court, Criminal Term, Part GWP-1, Room 1307.
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